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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF KANSAS
MICHELLE MASON,                    )
                                   )
                       Plaintiff,  )
                                   )
vs.                                )              Case No.
                                   )
HPA US1 LLC; OPVHHJV LLC d/b/a     )
Pathlight Property Management,     )
                                   )
                       Defendants. )
______________________________ )



                                  COMPLAINT

      COMES NOW the plaintiff and for her cause of action against the

defendants, alleges and states as follows:

      1.    The plaintiff Michelle Mason is a resident of Johnson County,

Kansas and is domiciled there.

      2.    The defendant HPA US1 LLC (“The Landlord”) is a Delaware limited

liability company with a principal place of business in Chicago, IL. The

Landlord’s resident agent is the Corporation Service Company located at 2900

SW Wanamaker Drive, Suite 204, Topeka, KS 66614. The members of the LLC
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are all residents of the state of Chicago and are all domiciled therein.

      3.     The defendant OPVHHJV LLC (doing business as Pathlight

Property Management) is a Texas limited liability company with a principal place

of business in Plano, Tx. The resident agent of OPVHHJV LLC (“Pathway”) is

the Corporation Service Company located at 2900 SW Wanamaker Drive, Suite

204, Topeka, KS 66614. The members of the LLC are all residents of the state of

Texas and are all domiciled therein.

      4.     This action involves a dispute between citizens of different states

and the amount in controversy is in excess of $75,000. Accordingly, this Court’s

jurisdiction is invoked under 28 U.S.C. § 1332. Venue is proper in this Court

under 28 U.S.C. § 1391(b) because a substantial part of the events giving rise to

the claim occurred in this judicial district.

      5.     On July 9, 2019, Ms. Mason moved into the Landlord’s rental

property at 15113 W 156th Ter., Olathe, KS 66062. The property was managed by

Pathlight Property Management . The monthly base rent was $2130.

      6.     Several weeks later, Mason sent her first email to Layton Bogle, who

was Pathway’s residential service manager for the Midwest. She informed him of

standing water in the basement. She received a response that the service order

had been opened and they were waiting on a vendor to review and determine the

correct repair for the water intrusion. No one ever came out to address this issue.

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       7.    Even though she had been in the property for over a month, on

August 20, Mason did a scheduled walk-thru the residence with Chris Wright,

who is a field support specialist with Pathlight. They inspected both inside and

outside of the residence and she noted everything that was broken or needed

attention. Wright took pictures with his IPAD; however, Bogle subsequently

claimed he had never received them. Accordingly, nothing was addressed. The

delay in the inspection was a violation of the Kansas Residential Landlord Tenant

Act.

       8.    A month later Mason sent a service request to help with a smell

originating from the drain in the basement shower that caused the entire house to

smell like sewage.

       9.    On November 13, Mason received an email falsely claiming that the

shower and smell had been fixed. The person that Pathlight sent out for service

forged her signature stating that it was repaired.

       10.   In September, 2019, Mason noticed she had abnormal breathing and

coughing. By December her breathing had worsened, and she experienced

multiple coughing attacks daily. Additionally she began to experience mouth

sores, hair loss, heart racing, problems clearing her throat, and increased mucus

production and phlegm. During this time, she made two trips to the ER for

breathing problems.

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      11.    Several days before Christmas she still had no medical diagnosis.

Water was again leaking in the basement from the water heater and there was no

hot water. Mason again called in a service request.

      12.    Three months later, Mason was in the basement and heard water

coming from somewhere. She opened the storage room door and water was

spraying out of the top of the water heater all over boxes, the floor, walls, and the

electrical box. She called in an emergency service request and the defendant sent

someone out who made a minor repair to stop the leaking and left without drying

out the basement.

      13.    In April 2020, the respiratory problems continued to worsen so

Mason was referred to a pulmonologist with Menorah Pulmonary and Critical

Care Consultants.

      14.    In May, her primary care physician ordered a scan with dye on her

lungs. At that point, Mason was experiencing increasing rib pain and difficulty

breathing.

      15.    Likewise in May, her pulmonologist instructed Mason to go to the

ER where she ended up in critical care. She spent the first 4 days in critical care,

had surgery which included a lung biopsy and cryoablation on her ribs that had

broken due to coughing. The following four days were spent in the ICU. She

returned to her home after she was released.

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      16.    One week later she again experienced difficulty breathing and

tightness in her chest. Her physician again sent her to the ER where the health

care providers found that her right lung had collapsed. Her lung was too

damaged at that point for surgical repair, so she had to stay in the hospital until

it naturally reached full capacity, which ended up being another 13 days.

      17.    Mason was diagnosed with Chronic Hypersensitive Pneumonitis

secondary to mold exposure. Mason was ordered not to return to her home by

her physician so she took up residence in an Airbnb.

      18.    In October, her breathing was still causing her a problem so Mason

went to Menorah for a chest x-ray. The x-ray revealed that her right lung had

partially collapsed again. Mason went to the KU Medical Center where a

pleurodesis was performed due to multiple pneumothorax.

      19.    Mason’s lung capacity has increased and she continues to show

improvement. However, she will have some residual disability due to the

exposures.

      20.    Prior to the exposures, Mason was the picture of good health. She

was a healthy working mom of three who was full of energy. She worked out 4-5

days a week, and ran 25 miles per week.




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      21.     Defendants violated their implied warranty that the home would be

habitable and safe for human occupancy. They were likewise negligent in failing

to address the serious water intrusion issues in the home.

      22.     As a result of the mold exposures Mason has incurred medical bills

in excess of $600,000. She has sustained considerable pain and suffering and a

life-long disability.

      23.     As a result of the defendants’ wanton conduct, Ms. Mason is entitled

to punitive damages to deter the defendant and others from similar conduct in

the future.

      WHEREFORE, the plaintiff respectfully prays for a judgment in excess of

$75,000 for compensatory and punitive damages plus her costs, and any other

and further relief as the Court might deem just or equitable.

                                Respectfully submitted,

                                DEPEW GILLEN RATHBUN & MCINTEER LC

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                                Attorneys for Plaintiff




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                     DESIGNATION OF PLACE OF TRIAL

       COMES NOW the plaintiff and designates Kansas City, Kansas, as the

place of the trial of this action.

                                     Respectfully submitted,

                                     DEPEW GILLEN RATHBUN & MCINTEER LC

                                     s/Randall K. Rathbun
                                     Randall K. Rathbun #09765
                                     Attorneys for Plaintiff




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                       REQUEST FOR JURY TRIAL

      COMES NOW the plaintiff and respectfully requests a trial by jury with

regard to the above-captioned action.


                              Respectfully submitted,

                              DEPEW GILLEN RATHBUN & MCINTEER LC


                              /s/Randall K. Rathbun
                              Randall K. Rathbun #09765
                              Attorneys for Plaintiff




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